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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


Patricia Gegner,                                   Case No. 18-cv-3364 (PJS/TNL)

              Plaintiff,

v.                                                  ORDER FOR DISMISSAL
                                                      WITH PREJUDICE
Admiral Merchants Motor Freight, Inc.,

              Defendant.


       Based on the Stipulation for Dismissal with Prejudice entered into by and between

Plaintiff Patricia Gegner and Defendant Admiral Merchants Motor Freight, Inc., and all of

the files, records, and proceedings herein,

       IT IS HEREBY ORDERED: That all claims asserted by Plaintiff Patricia Gegner

in the above-entitled action against Defendant Admiral Merchants Motor Freight, Inc.,

including all claims for attorneys’ fees, are hereby dismissed with prejudice and on the

merits, without cost to any of the parties hereto. There being no just reason for delay,

judgment of dismissal shall be entered.

       LET JUDGMENT BE ENTERED ACCORDINGLY.



Dated: May 23, 2019                       s/Patrick J. Schiltz
                                          Patrick J. Schiltz
                                          United States District Judge
